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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


   In re Flint Water Cases.               Judith E. Levy
                                          United States District Judge
   ________________________________/

   This Order Relates To:

   ALL CASES

   ________________________________/

    ORDER REGARDING MATTERS ADDRESSED DURING THE
            JULY 15, 2020 VIDEO CONFERENCE

        On July 15, 2020, the Court held a video conference to address

  discovery and other case management-related issues. The Court now

  orders as follows:

        Putative Class Plaintiffs must re-file their motion for class

  certification to conform with Eastern District Local Rule 5.3 and the Case

  Management Order’s (“CMO”) Confidentiality Order. (ECF No. 1162-3.)

  By Thursday, July 17, 2020, Putative Class Plaintiffs will file their

  motion to seal and the Court will decide that motion at the next Flint

  Water status conference on July 29, 2020.
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        The Court adopted the following schedule for responses to the

  Motion for Class Certification:

        1. Governor Whitmer and former Governor Snyder must file an

           answer within twenty-one (21) days of the mandate being issued

           by the Sixth Circuit;

        2. Former Treasurer Dillon must file a memorandum on whether

           he should be dismissed in Waid for the same reasons he was

           dismissed in Brown and Marble within twenty-one (21) days of

           the mandate issued by the Sixth Circuit;

        3. Putative Class Plaintiffs and Interim Co-Liaison Counsel may

           file a response to former Treasurer Dillon’s memorandum within

           seven (7) days after it is filed;

        4. State Defendants will have seventy (70) days after filing their

           answer to conduct written and deposition discovery, including

           conducting home inspections;

        5. The Court stayed the depositions of Putative Class Plaintiffs’

           experts who submitted reports in the class motion for

           certification for sixty-five (65) days from July 15, 2020.




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        6. Governmental Defendants must file oppositions and any

           supporting Rule 26(a)(2) expert reports and disclosures within

           thirty (30) days of the end of the time period for deposing

           Putative Class Plaintiffs’ experts;

        7. Any reply in support of the Motion for Class Certification shall

           be filed within sixty (60) days from when the oppositions to class

           certifications are filed by the Governmental Defendants;

        8. A hearing on Class Plaintiffs’ Motion for Class Certification with

           respect to all Defendants, shall be set following the filing of State

           Defendants’/Government Defendants’ reply;

        9. Within two (2) weeks from the filing of the reply, Defendants

           shall notify the Court if an evidentiary hearing is requested.

        The Court ordered two (2) days of depositions for Putative Class

  Plaintiffs’ expert witnesses and now orders that supporting materials be

  given ten (10) days in advance of the deposition. Interim Individual Co-

  Liaison Counsel is to be given up to one hour at these depositions and the

  rest of the time is to be divided among the Defendants pursuant to the

  Fourth Amended CMO.




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        The Court will decide Bacon v. Lockwood Andrews & Newnam, 18-

  cv-10348, on the current amended complaint. (ECF No. 86.) Defendants

  may file a reply brief 14 days from the date the response to each motion

  to dismiss was filed.

        VNA Defendants requested to depose nine bellwether parents,

  grandparents, and teachers. The Court will allow VNA Defendants to

  submit written interrogatories, and if Defendants determine a deposition

  is necessary, they must meet and confer with Interim Individual Co-

  Liaison Counsel before returning to the Court for permission to notice the

  depositions.

        Individual Co-Liaison Counsel shall provide dates for home

  inspections of bellwether plaintiffs to VNA Defendants by July 20, 2020

  for the inspections to begin on July 27, 2020.

        IT IS SO ORDERED.

  Dated: July 17, 2020                     s/Judith E. Levy
  Ann Arbor, Michigan                      JUDITH E. LEVY
                                           United States District Judge




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                       CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served
  upon counsel of record and any unrepresented parties via the Court’s
  ECF System to their respective email or First Class U.S. mail addresses
  disclosed on the Notice of Electronic Filing on July 17, 2020.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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